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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

       v.                                                      DECISION AND ORDER
                                                                    08-CR-349S-4
ALBERTO ANTIMO MIRELES,

                           Defendant.


       1.     On September 3, 2009, the Defendant entered into a written plea agreement

(Docket No. 92) and on September 15, 2009 pled guilty to Count 2 of the Indictment

(Docket No. 1) charging a violation of Title 8, U.S.C. Section 1324(a)(1)(A)(iii) and

1324(a)(1)(B)(i) (harboring an illegal alien for the purpose of commercial advantage and

private financial gain).

       2.       On September 15, 2009, the Honorable Hugh B. Scott, United States

Magistrate Judge, filed a Report and Recommendation (Docket No.93) recommending that

Defendant’s plea of guilty be accepted and the Defendant adjudicated guilty.

       3.     This Court has not received objections to the Report and Recommendation

in accordance with 28 U.S.C. §636(b)(1)(C) and Local Rule 58.2(a)(3).

       4.     This Court has carefully reviewed de novo Judge Scott’s Report and

Recommendation, the plea agreement, transcript of the proceeding, and the applicable

law. Upon due consideration, this Court finds no legal or factual error in Judge Scott’s

Report and Recommendation, and will accept Judge Scott’s recommendation that

Defendant’s plea of guilty be accepted and that the Defendant be adjudicated guilty as

charged.
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       IT HEREBY IS ORDERED, that this Court accepts Judge Scott’s Report and

Recommendation (Docket No. 93) in its entirety, including the authorities cited and the

reasons given therein.

       FURTHER, that the plea of guilty of Defendant Alberto Antimo Mireles is accepted,

and he is now adjudged guilty of Title 8, U.S.C. Section 1324(a)(1)(A)(iii) and

1324(a)(1)(B)(i).

       SO ORDERED.


Dated: October 28, 2009
       Buffalo, New York


                                                       /s/ William M. Skretny
                                                       WILLIAM M. SKRETNY
                                                     United States District Judge




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